Case 18-69497-bem        Doc 43    Filed 04/11/22 Entered 04/11/22 12:14:10          Desc Main
                                   Document     Page 1 of 4



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE:                                          :           CASE NO. 18-69497-BEM
                                                :
SANDRA BROOKS,                                  :           CHAPTER 7
aka Sandra Hitt Brooks                          :
aka Sandra Lynn Brooks,                         :
                                                :
         Debtor.                                :
                                                :


             TRUSTEE’S MOTION FOR AUTHORITY TO PAY ADMINISTRATIVE
                         EXPENSES OF CHAPTER 7 ESTATE

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate of Sandra Brooks (“Debtor”), by and through undersigned counsel, and files Trustee’s

Motion for Authority to Pay Administrative Expenses of Chapter 7 Estate (the “Motion”). In

support of his Motion, Trustee shows as follows:

                                     Jurisdiction and Venue

                                                 1.

         This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This

Motion presents a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                            Background Facts and Relief Requested

                                                 2.

         On November 19, 2018 (the “Petition Date”), Debtor filed in this Court a voluntary

petition for relief under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy

Case”). Trustee was appointed and remains the duly acting Chapter 7 trustee.




17997139v1
Case 18-69497-bem        Doc 43    Filed 04/11/22 Entered 04/11/22 12:14:10             Desc Main
                                   Document     Page 2 of 4



                                                 3.

        At the commencement of the Bankruptcy Case, a bankruptcy estate was created pursuant

to 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and that Bankruptcy Estate includes all

Debtor’s legal or equitable interests in property as of the commencement of the bankruptcy case

and any interest in property that the estate acquires after commencement of the bankruptcy case.

11 U.S.C. § 541(a)(1) and (7). Trustee is the sole representative of the Bankruptcy Estate. 11

U.S.C. § 323(a).

                                                 4.

        Debtor filed this bankruptcy case as a no-asset case. [Doc. No. 1 at Page 6].

                                                 5.

        Nevertheless, through the efforts of Trustee and his professionals, Trustee has recovered

approximately $233,000.00 for the benefit of the Bankruptcy Estate from, among other things,

certain business interests and an annuity that Debtor owned on the Petition Date.

                                                 6.

        Because of the ownership of one of these business interests, which interest was converted

to cash through a merger agreement in 2021, the Bankruptcy Estate has incurred income tax

expenses owed to the Internal Revenue Service in the amount of $10,300.00 and to the Georgia

Department of Revenue in the amount of $2,700.00.

                                                 7.

        Out of an abundance of caution, and to the extent the respective taxing authorities

determine that the Bankruptcy Estate owes more in taxes than what Trustee’s accountant has

calculated, Trustee respectfully requests authority to pay up to $11,330.00 to the Internal

Revenue Service and authority to pay up to $2,970.00 to the Georgia Department of Revenue (or,

a 10% premium).


17997139v1
Case 18-69497-bem         Doc 43    Filed 04/11/22 Entered 04/11/22 12:14:10       Desc Main
                                    Document     Page 3 of 4



                                                 8.

        There are sufficient funds in the Bankruptcy Estate with which to make the foregoing

payments, and such payments are proper administrative expenses of the Bankruptcy Estate.

        WHEREFORE, Trustee requests that the Court grant this Motion and authorize Trustee to

pay the above-described administrative expense claims.


        Respectfully submitted this 11th day of April, 2022.

                                              ARNALL GOLDEN GREGORY LLP
                                              Attorneys for Chapter 7 Trustee

                                              By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                  Michael J. Bargar
Atlanta, Georgia 30363                           Georgia Bar No. 645709
Phone: (404) 873-8500                            michael.bargar@agg.com




17997139v1
Case 18-69497-bem        Doc 43    Filed 04/11/22 Entered 04/11/22 12:14:10             Desc Main
                                   Document     Page 4 of 4



                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served true and correct copies of the foregoing
Trustee’s Motion for Authority to Pay Administrative Expenses of Chapter 7 Estate by delivering
copies of the same via United States first class mail, postage prepaid, to the following persons or
entities at the addresses stated:

Office of the U.S. Trustee                                 Sandra Brooks
362 Richard B. Russell Federal Building                    212 Ivey Park Ln
75 Ted Turner Drive, SW                                    Norcross, GA 30092-4790
Atlanta, GA 30303
                                                           Sandra Brooks
S. Gregory Hays                                            500 Thrasher Street, #4115
Hays Financial Consulting, LLC                             Norcross, GA 30071
Suite 555
2964 Peachtree Road NW                                     Peter B. Bricks
Atlanta, GA 30305-2153                                     Peter Bricks, P.C.
                                                           Suite 206
                                                           333 Sandy Springs Circle, N.E.
                                                           Atlanta, GA 30328




        This 11th day of April, 2022.

                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709




17997139v1
